   Case: 1:24-cr-00442-JPC Doc #: 7 Filed: 12/19/24 1 of 3. PageID #: 32




                 IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION

                                             CASE NO. 1:24-cr-0442

 UNITED STATES OF AMERICA,                   DISTRICT JUDGE
                                             J. PHILIP CALABRESE
              Plaintiff,
                                             MAGISTRATE JUDGE
 vs.                                         JAMES E. GRIMES JR.

 BASHEER JONES,
                                             REPORT &
              Defendant.                     RECOMMENDATION




       Under General Order 99-49, the Court referred this matter to me for the

purpose of receiving, after consent, the Defendant’s plea of guilty. The following,

along with the transcript or other record of the proceedings submitted with this

document, constitutes the Report and Recommendation concerning the

Defendant’s plea of guilty:

                  1.     On December 19, 2024, the Defendant,
             accompanied by counsel, consented to proceeding before
             a Magistrate Judge and proffered a plea of guilty.

                   2.     The Defendant was examined as to his
             competency to participate in a plea proceeding and was
             found to be competent.

                    3.   The        Defendant        acknowledged
             understanding the nature of the charges contained in
             the indictment and the maximum possible sentence and
             mandatory minimum for the charges, including
             imprisonment, fine, and term of supervised release.
Case: 1:24-cr-00442-JPC Doc #: 7 Filed: 12/19/24 2 of 3. PageID #: 33




             4.     The Defendant was advised of his rights to
      plead not guilty; to trial; to confront and cross-examine
      adverse witnesses; to be protected from compelled self-
      incrimination; to testify; to present evidence; to present
      witnesses and to compel their presence; and to stand on
      or waive the privilege against self-incrimination.
      Defendant acknowledged understanding that on the
      Court’s acceptance of a plea of guilty, he was waiving
      each of these rights. Defendant was also advised of his
      right to representation by counsel, including appointed
      counsel, at all stages of the proceedings.

             5.    The      Defendant      acknowledged
      understanding the Court’s authority to order
      restitution and its obligation to impose a special
      assessment.

            6.     The       Defendant       acknowledged
      understanding the court’s obligation to calculate the
      applicable sentencing-guideline range and to consider
      that range, possible departures under the Sentencing
      Guidelines, and other sentencing factors under 18
      U.S.C. § 3553(a).

             7.    The        Defendant        acknowledged
      understanding the terms of the plea-agreement
      provision waiving his right to appeal or to collaterally
      attack the sentence the Court will impose.

            8.      The Defendant was advised that the
      government would have the right, in a prosecution for
      perjury, to use any statement he makes under oath.

            9.    The     parties     provided      sufficient
      information about the charged offense and the
      Defendant’s conduct to establish a factual basis for the
      plea.

             10.    I questioned the Defendant under oath
      about the knowing, intelligent, and voluntary nature of
      his guilty plea, and find that the Defendant’s plea was
      offered knowingly, intelligently, and voluntarily.




                                  2
   Case: 1:24-cr-00442-JPC Doc #: 7 Filed: 12/19/24 3 of 3. PageID #: 34




      In light of the above and the record submitted herewith, all requirements

imposed by the United States Constitution and Federal Rule of Criminal

Procedure 11 have been satisfied. I therefore recommend that the plea of guilty be

accepted and a finding of guilty be entered by the Court.



                                              s/James E. Grimes Jr.
                                              James E. Grimes Jr.
                                              United States Magistrate Judge
      Date: December 19, 2024




        ANY OBJECTIONS to this Report and Recommendation must be filed with
the Clerk of Court within 14 days after being served with a copy of this Report
and Recommendation. Failure to file objections within the specified time may
forfeit the right to appeal the District Court’s order. See Berkshire v. Beauvais,
928 F.3d 520, 530-531 (6th Cir. 2019); United States v. Droganes, 728 F.3d 580,
586 (6th Cir. 2013).




                                        3
